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 7

 8                              UNITED STATES DISTRICT COURT
 9                             NORTHERN DISTRICT OF CALIFORNIA
10                                     OAKLAND DIVISION
11

12   WHATSAPP INC., a Delaware corporation,       Case No. 4:19-cv-07123-PJH
     and FACEBOOK, INC., a Delaware
13   corporation,                                 REPLY IN SUPPORT OF DEFENDANTS’
                                                  MOTION TO DISMISS OR FOR
14               Plaintiffs,                      SUMMARY JUDGMENT FOR LACK OF
15                                                PERSONAL JURISDICTION AND FOR
           v.                                     PARTIAL SUMMARY JUDGMENT
16   NSO GROUP TECHNOLOGIES LIMITED               FILED UNDER SEAL
     and Q CYBER TECHNOLOGIES LIMITED,
17
                                                  [REDACTED VERSION OF DOCUMENT
                     Defendants.                  FILED UNDER SEAL]
18

19

20                                                Date: November 7, 2024
                                                  Time: 1:30 p.m.
21                                                Place: Courtroom 3, Ronald V. Dellums
                                                         Federal Building & U.S. Courthouse,
22                                                       1301 Clay Street, Oakland, California

23
                                                  Action Filed: 10/29/2019
24

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       DEFENDANTS’ REPLY IN SUPPORT OF                               Case No. 4:19-cv-07123-PJH
       MOTION FOR SUMMARY JUDGMENT
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 1            Plaintiffs’ overlong opposition (see Opp. 26 1) makes multiple concessions that conclusively
 2   establish NSO’s entitlement to dismissal or judgment. It is undisputed that NSO did not target
 3   WhatsApp’s servers based on their locations, which proves NSO is not subject to personal
 4   jurisdiction. And Plaintiffs concede NSO was authorized to send WhatsApp messages and did not
 5                                                                                                   , which
 6   proves NSO did not violate CFAA or CDAFA. Plaintiffs’ contrary arguments rest on severe
 7   mischaracterizations of the record. The Court should grant NSO’s motion.
 8                                               ARGUMENT
 9   I.       NSO is not subject to personal jurisdiction.
10            Plaintiffs’ opposition confirms they misled the Court when they represented that NSO
11   specifically “sought out WhatsApp’s California-based servers” for purposes of personal
12   jurisdiction. (Dkt. 111 at 24.) Because the evidence undisputedly proves that allegation false, NSO
13   is not subject to personal jurisdiction. Nothing in Plaintiffs’ opposition establishes otherwise.
14            A.     NSO did not consent to jurisdiction.
15            This Court already held NSO did not consent to jurisdiction because the forum-selection
16   clause “that w[as] in effect at the time of [NSO’s] alleged conduct” did “not apply to claims
17   WhatsApp has with its users.” (Dkt. 111 at 16-18.) Plaintiffs argue they amended the TOS to
18   expand the forum-selection clause in 2020, after filing suit. But personal “jurisdiction is determined
19   at the time of filing the lawsuit,” Adam v. Barone, 2020 WL 4584182, at *4 (N.D. Cal. Aug. 10,
20   2020), so “[o]nly contacts occurring prior to the event causing the litigation may be considered,”
21   Farmers Ins. Exch. v. Portage La Prairie Mut. Ins. Co., 907 F.2d 911, 913 (9th Cir. 1990). 2
22            That rule applies “[f]or purposes of jurisdiction based on consent.” Cardell Fin. Corp. v.
23   Suchodolski Assocs., 2012 WL 12932049, at *15 (S.D.N.Y. July 17, 2012). With respect to consent
24   through the appointment of a registered agent in a state, courts have held that post-filing consent
25   “is not material to the jurisdictional analysis” because “personal jurisdiction is not based on contacts
26   occurring after the filing of the complaint.” Lehman Bros. Holdings v. LendingTree, LLC, 2021
27        1
        All citations omit quotation marks and alterations and, unless otherwise noted, add emphasis.
          2
28      Plus, Plaintiffs may not oppose summary judgment with a legal theory they never raised before
     summary judgment. Patel v. City of Long Beach, 564 F. App’x 881, 882 (9th Cir. 2014).

                                                        1
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 1   (emphasis original). The court rejected the argument “that a client’s assent to the actual formation
 2   of a contract can be based on knowledge imputed from his attorney.” Id. (emphasis original).
 3   Because an arbitration clause is a “kind of forum-selection clause,” Viking River Cruises v.
 4   Moriana, 569 U.S. 639, 653 (2022), the same result is required for the forum-selection clause here.
 5          In all events, enforcing the 2020 forum-selection clause would be unconscionable. The
 6   TOS are adhesive, the forum-selection clause was amended unilaterally, and it is entirely one-sided—
 7   WhatsApp retains the right, “in [its] sole discretion,” to sue users outside of California. (Block
 8   Exh. 14 at -195071.) Such a one-sided clause is “illusory and … unenforceable.” In re Zappos.com,
 9   893 F. Supp. 2d 1058, 1066 (D. Nev. 2012). At a minimum, WhatsApp’s “unilateral modification”
10   cannot “operate retroactively” in a lawsuit filed before the modification. My Daily Choice v. Butler,
11   2021 WL 3475547, at *6 (D. Nev. Aug. 6, 2021). WhatsApp amended its forum-selection clause
12   only after suing NSO and realizing the clause did not create consent to jurisdiction. (Dkt. 111 at 16-
13   18.) There is no case “where a party was permitted unilaterally to amend a contract midway through
14   litigation concerning that contract” in that way. Al-Safin v. Circuit City Stores, 394 F.3d 1254, 1260
15   n.5 (9th Cir. 2005). “Rather, courts addressing whether an arbitration agreement can be amended
16   after it has been challenged during litigation have declined to permit the amendment.” Id. 6
17          This Court should reach the same conclusion. If Plaintiffs’ argument succeeded, WhatsApp
18   and other companies could sue their users in states lacking personal jurisdiction, then retroactively
19   manufacture consent by unilaterally amending the contract while notifying no one but their users’
20   lawyers. The Court should not reward or encourage such abuse of online adhesion contracts. 7
21          B.      NSO did not purposefully direct case-related conduct toward California.
22          Although Plaintiffs previously misled this Court to find jurisdiction by claiming NSO
23   “sought out WhatsApp’s California-based servers” (Dkt. 111 at 24), they no longer rely on that
24   false assertion. The undisputed evidence proves NSO
25                                                               (MSJ 9-11.) Instead, Plaintiffs claim (1)
26    6
         E.g., Allez Med. Apps., Inc. v. Allez Spine, LLC, 2007 WL 927905, at *1, 7 (Cal. Ct. App. Mar.
27   29, 2007); cf. McKee v. Audible, Inc., 2018 WL 2422582, at *6 (C.D. Cal. Apr. 6, 2018) (rejecting
     class action waiver added to TOS after class action was filed).
       7
28       See X Corp. v. Bright Data Ltd., 2024 WL 2113859, at *15 (N.D. Cal. May 9, 2024) (refusing
     to enforce provision company “stuck … into its Terms after it already filed an initial complaint”).
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 1   NSO “sought out WhatsApp servers” generally, and (2) some of those servers happened to be in
 2   California. (Opp. 6.) That cannot support specific jurisdiction, which must exist based on “the
 3   defendant’s connections with the forum State itself,” not “contacts with persons who reside there.”
 4   Walden v. Fiore, 571 U.S. 277, 285 (2014). Walden forecloses Plaintiffs’ argument that jurisdiction
 5   exists based on a combination of Plaintiffs’ “own forum connections” and “evidence suggesting
 6   [NSO] knew of those connections.” Axiom Foods v. Acerchem Int’l, 874 F.3d 1064, 1069 (2017).
 7          This Court did not hold otherwise. Although the Court held jurisdiction could exist even if
 8   NSO did not “select[] the location of [WhatsApp’s] servers”—meaning NSO did not have to control
 9   where WhatsApp puts its servers—it found jurisdiction only because Plaintiffs alleged NSO “sought
10   out WhatsApp’s California-based servers.” (Dkt. 111 at 23-24.) The Court thus made clear that
11   NSO did have to “target [the] server based on its location.” (Opp. 6-7); accord Hasson v. FullStory,
12   Inc., 114 F.4th 181, 191-92 (3d Cir. 2024). Other courts hold the same (MSJ 11), and Plaintiffs cite no
13   contrary case.8 Because NSO did not “specifically s[eek] out any particular servers within the forum,”
14   X Corp. v. Ctr. for Countering Digital Hate, 2024 WL 1245993, at *10 (N.D. Cal. Mar. 26, 2024),
15   the “location of [WhatsApp’s] servers [is] ‘random,’ ‘fortuitous,’ [and] ‘attenuated’ to [NSO’s]
16   purported actions,” Broidy Cap. Mgmt. v. Qatar, 2018 WL 9943551, at *7 (C.D. Cal. Aug. 22, 2018).
17   Otherwise, anyone who sends a WhatsApp message anywhere in the world could be subject to
18   jurisdiction in whatever state WhatsApp decided to locate the server the message passes through.
19          Indeed, Plaintiffs assert
20                      proving NSO’s conduct had nothing to do with California as a state. (Opp. 8.) 9
21   Plaintiffs argue NSO “knew or should have known the locations of WhatsApp’s relay and signaling
22   servers” (Opp. 9), but
23                               (MSJ 5). The undisputed evidence is that NSO did not know where
24
       8
         Facebook, Inc. v. Sahinturk, 2022 WL 1304471, at *4 (N.D. Cal. May 2, 2022), was a default
25   judgment in which the defendant allegedly “s[ought] out” California-based servers and targeted
     California through “cybersquatting” and “develop[ing] … a business across multiple clone
26   websites” directed at California. E3 Innovation Inc. v. DCL Techs. Inc., 2021 WL 5741442, at *9
27   & n.11 (D. Ariz. Dec. 2, 2021), held specific jurisdiction did not exist because the defendant did
     not target “servers located in Arizona.”
       9
28       E.g., Walden, 571 U.S. at 290; Johnson v. TheHuffingtonPost.com, 21 F.4th 314, 321-22 & n.9
     (5th Cir. 2021); Yeager v. Airbus Grp. SE, 2021 WL 750836, at *6 (C.D. Cal. Jan. 26, 2021).
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 1   party server in California cannot support specific jurisdiction. (Dkt. 111 at 20-21.) Courts are
 2   unanimous on this point (MSJ 12-14), which is why Plaintiffs cite no authority for their argument.
 3          Plaintiffs also do not rebut the Court’s ruling that QuadraNet’s server was “not the ultimate
 4   target of [NSO’s alleged] intentional act.” (Dkt. 111 at 21.) By the time Pegasus’s government
 5   users sent any data through a third-party server,
 6             (McGraw Decl. ¶ 80.) “The leased servers were utilized to send malware and other
 7   commands to users’ devices but not WhatsApp’s servers,” and none of those users were in
 8   California. (Dkt. 111 at 21.) Such “attenuated alleged California contacts” cannot support personal
 9   jurisdiction. GeoSolutions B.V. v. Sina.com Online, 700 F. Supp. 3d 821, 828-29 (N.D. Cal. 2023).
10          2. This Court also rejected Plaintiffs’ attempt to base specific jurisdiction on NSO’s funding
11   from Francisco Partners. (Dkt. 111 at 28.) That funding ended in February 2019, and there is still
12   no evidence “the funding was instrumental to [NSO’s] alleged conduct.” (Id.) The testimony
13   Plaintiffs cite does not even mention Francisco Partners, much less prove their funding was used to
14   develop                   . (Block Exh. 5 at 256:16-258:9, 299:21-300:15; Exh. 9 at 68:22-69:18.)
15   Even if it had been, Plaintiffs cite no authority that a company is subject to jurisdiction in the home
16   state of an investor merely because it uses investor funding in its business. 14
17          3.   Plaintiffs cannot attribute Westbridge’s conduct to NSO because the evidence is
18   overwhelming that Westbridge was not NSO’s alter ego or agent. (MSJ 14-16.)
19          Plaintiffs argue the Supreme Court’s rejection of agency jurisdiction in Daimler applies
20   only to general jurisdiction, but the case Plaintiffs cite held it “applies no less in the context of
21   specific jurisdiction.” Williams v. Yamaha Motor Co., 851 F.3d 1015, 1024 (9th Cir. 2017). Thus,
22   Plaintiffs must prove NSO and Westbridge were alter egos. (MSJ 14-15.) Plaintiffs do not come
23   close. (Opp. 15.) They do not deny NSO and Westbridge had separate offices, bank accounts,
24   corporate records, boards of directors, and so on. (MSJ 15.) Plaintiffs claim only that NSO and
25   Westbridge shared a parent company, one officer, and some employees, 15 all of which is
26     14
          Berkeley Lights, Inc. v. AbCellera Biologics Inc., 2021 WL 4497874, at *3-6 (N.D. Cal. Jan.
27   29, 2021), held the court lacked personal jurisdiction, including because the plaintiff’s claims did
     “not arise out of or relate to [the defendant’s] acquisition of funding in California.” So too here.
       15
28        This assertion is false. Plaintiffs’ argument shows at most that Defendants’ and Westbridge’s
     employees occasionally helped each other, not that they had the same employees. (Opp. 15.)
                                                         7
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 1   entity engaged in tortious conduct from a location outside of the United States by remotely
 2   accessing servers located in the United States.” Hungerstation LLC v. Fast Choice LLC, 857 F.
 3   App’x 349, 351 (9th Cir. 2021). 17 Plaintiffs cite no case holding otherwise.
 4   II.    NSO is entitled to summary judgment on Plaintiffs’ CFAA claims.
 5          Plaintiffs’ opposition confirms they cannot prove a CFAA violation as a matter of law.
 6   Plaintiffs concede NSO “had authorization to send messages” over WhatsApp servers. (Opp. 21.)
 7   They also concede
 8                                                  (Id.) Those concessions prove NSO did not lack
 9   “permission to use” WhatsApp servers “for any purpose,” LVRC Holdings LLC v. Brekka, 581 F.3d
10   1127, 1135 (9th Cir. 2009), and did not “enter[] an area of” the servers “to which [its] authorization
11   d[id] not extend,” Van Buren v. United States, 593 U.S. 374, 390 (2021).
12          A.      NSO did not access WhatsApp servers “without authorization.”
13          1. This court correctly dismissed Plaintiffs’ “without authorization” claim four years ago,
14   and Plaintiffs identify no valid basis for resurrecting it. 18 Plaintiffs still concede NSO “had
15   authorization to send messages using the WhatsApp app” (Opp. 21), which remains fatal to their
16   claim because a “person uses a computer ‘without authorization’” only “when the person has not
17   received permission to use the computer for any purpose.” Brekka, 581 F.3d at 1135. Because
18   Plaintiffs admit NSO was authorized to use WhatsApp servers for some purposes, NSO could not
19   access WhatsApp servers “without authorization.”
20          There is no legal basis for Plaintiffs’ theory that NSO’s authorization was somehow
21                                                                       . (Opp. 20; see Dkt. 419-2 at 10-
22   12.) Someone can violate CFAA’s “without authorization” prong only if they have “no rights,
23   limited or otherwise” to access the computer at all. Brekka, 581 F.3d at 1135. So, for NSO’s
24   access to be “without authorization,” it must have been prohibited from sending any WhatsApp
25
       17
           It is not correct that the Hungerstation defendant “incidentally used non-parties’ forum
26   servers.” (Opp. 12 n.11.) The defendant allegedly stole the plaintiff’s “confidential source code
27   and proprietary business information” by hacking into the forum server. 857 F. App’x at 351.
       18
          In re JDS Uniphase Corp. Sec. Litig., 2007 WL 2429593, at *5-6 (N.D. Cal. Aug. 24, 2007),
28   allowed plaintiffs to amend an existing claim. Plaintiffs have no claim that NSO accessed its servers
     “without authorization” because the Court dismissed that claim. (MSJ 21.)
                                                       9
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 1   messages through any means,                                       And even under Plaintiffs’ argument,
 2   NSO always had the right to send messages                                    Any requirement that NSO
 3                                       would be a mere “use restriction[]” that
 4                                                                        Nosal II, 844 F.3d at 1038.
 5             2. For that reason, NSO would be entitled to summary judgment on Plaintiffs’ “without
 6   authorization” claim even if it had
 7                                                                 (Opp. 21.) But NSO did not do that, and
 8   Plaintiffs’ contrary assertions misstate the record. (Supra 5; Dkt. 419-2 at 12; Gazneli Decl. ¶¶ 4-8.)
 9             Additionally, Plaintiffs do not identify any actual requirement
10                            They cite the TOS, but that language is a disjunctive authorization to use “our
11   apps, services, features, software or website.” (Opp. 21.) Authorization to use WhatsApp’s “apps”
                                                                                 19
12   or “services” is not a                                                           Plaintiffs next claim
13

14                    but concede NSO used                                       .) And the NSO document
15   they cite does not discuss                                       . (Block Exh. 16.) It speculates
16                                                                       (id. at -8958-8962), but WhatsApp
17                                                  (McGraw Decl. ¶¶ 75-79). Plaintiffs admit WhatsApp
18   servers                                                                     . (Supp. Akro. Exh. AA at
19   141:22-143:22; Exh. BB at 161:3-169:24.) Neither did the “official” WhatsApp client, which
20                                      . Because WhatsApp’s                                       , its “system
21   authoriz[ed] the access.” Abu v. Dickson, 107 F.4th 508, 515 (6th Cir. 2024).
22             3. Plaintiffs double down on their baseless theory of “limited” authorization by arguing
23   they “revoked” NSO’s authorization. (Opp. 20.) As explained in NSO’s opposition to Plaintiffs’
24   MSJ, none of their supposed revocations “categorically revoked” NSO’s right to send all WhatsApp
25   messages through any means. Nosal II, 844 F.3d at 1038; (Dkt. 419-2 at 14-15). At most, Plaintiffs
26   argue they forbade                                                  (Opp. 21), which is not the kind of
27
       19
28        Besides, whether a defendant “flouted [the plaintiff’s] terms of use … has no bearing on whether
     it has violated the CFAA.” Chegg, Inc. v. Doe, 2023 WL 4315540, at *2 (N.D. Cal. July 3, 2023).
                                                         10
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 1   complete revocation that can trigger CFAA’s “without authorization” prong (Dkt. 419-2 at 14-15).
 2   WhatsApp’s                                 (Opp. 22), moreover, had                                . The
 3   upgrades addressed
 4                                                      (Supp. Akro. Exh. CC at 6.) NSO also could not
 5   have interpreted the                as a revocation because the                                  gave no
 6   “notice that … authorization was revoked.” Facebook, 844 F.3d at 1068 n.5; (Supp. McGraw Exh.
 7   Y ¶¶ 87-91, 98). 20
 8           B.      NSO did not “exceed authorized access” to WhatsApp servers.
 9           Plaintiffs’ concession that NSO
10                                 (Opp. 24) dooms their “exceeds authorized access” claim. A defendant
11   “exceeds authorized access” only when he “access[es] a computer with permission but then …
12   enter[s] an area of the computer to which that authorization does not extend.” Van Buren, 593 U.S.
13   at 389-90. That is an all-or-nothing inquiry: “one either can or cannot access certain areas within
14   the system.” Id. Thus, if “a user is permitted to be on a particular ‘area within the system’ for some
15   purposes,” then “the user’s access to the [area] is ‘authorized’” for all purposes. Abu, 107 F.4th at 508.
16           Plaintiffs concede (1) NSO was authorized to access the “areas” of WhatsApp servers
17   WhatsApp messages pass through, and (2)
18   So even if Pegasus had
19                                             . Plaintiffs argue Van Buren does not require access to off-
20   limits areas of a computer, but it unambiguously does. 593 U.S. at 389-90. Even the language
21   Plaintiffs quote provides that the “information” a defendant accesses must be “located in particular
22   areas of the computer … that are off-limits to him.” Id. at 396. Plaintiffs do not claim NSO
23   accessed “information” stored in any off-limits “areas” of WhatsApp servers. Id.
24           In fact, Plaintiffs do not identify any “information” on WhatsApp servers that NSO
25   “obtain[ed] or alter[ed].” 18 U.S.C. § 1030(e)(6). They argue “information need not come from
26   the servers alone” because § 1030(a)(2)(C) “prohibits using unauthorized access to ‘a computer’ to
27     20
          Plaintiffs provide no proper authentication of, or foundation for, Block Exhibits 12, 41, or 42.
28   Nor does anything in those exhibits reflect a categorical, “particularized” revocation of all access
     affirmatively communicated to NSO. Nosal II, 844 F.3d at 1036-38.
                                                        11
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 1   obtain information from ‘any protected computer,’ not necessarily the same computer.” (Opp. 23.)
 2   But § 1030(a)(2)(C) first requires the defendant to “exceed[] authorized access” to a “computer,”
 3   and § 1030(e)(6)’s definition of “exceeds authorized access” requires a defendant to “obtain or alter
 4   information in the computer”—the same computer—the defendant “access[ed].” So, to prove a
 5   § 1030(a)(2)(C) claim on an “exceeds authorized access” theory, a plaintiff must first prove the
 6   defendant “exceed[ed] authorized access” to a computer by “obtain[ing] or alter[ing] information
 7   in th[at] computer,” § 1030(e)(6), and then prove the defendant also “obtain[ed] … information
 8   from any protected computer,” § 1030(a)(2)(C).
 9          Plaintiffs assert NSO
10   (Opp. 23), but do not explain what they mean. If they are referencing
11                                                         (Dkt. 399-2 at 20-21), that cannot support their
12   claim because every WhatsApp user is “entitled” to receive that information. § 1030(e)(6).
13   Whenever any WhatsApp user
14                                                                                  . (Gazneli Decl. ¶ 11.)
15   In that regard, Pegasus was no different than any other WhatsApp user.
16          Plaintiffs’ claim that Pegasus                                                   misstates the
17   evidence. (Opp. 24.) Plaintiffs’ own corporate designees admit Pegasus
18                                                                       (Akro. Exh. K at 249:7-250:10;
19   Exh. L at 183:7-184:7, 250:22-251:24.) Contrary to Plaintiffs’ misrepresentations, Pegasus did not
20

21                         (Opp. 24.) As NSO’s witness testified, WhatsApp signaling servers
22                                                                            (Block Exh. 5 at 193:2-10.)
23   Some Pegasus
24

25               But
26                                                                    . (Gazneli Decl. ¶ 13.) Similarly,
27   Pegasus did not                                                          . (Opp. 24.)
28

                                                      12
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 1               (Block Exh. 5 at 158:15-160:13; Gazneli Decl. ¶ 14.)
 2          Finally, there is no evidence NSO “circumvent[ed]” any “technological (or ‘code-based’)
 3   limitations on access” to WhatsApp servers. (Opp. 23.) Neither the “official” WhatsApp client nor
 4   WhatsApp servers                                                            . (Supra 10.) Plaintiffs
 5   may have “assum[ed]” WhatsApp users                                     (Opp. 23), but CFAA does
 6   not protect Plaintiffs’ assumptions, and “us[ing] [a] computer contrary to the [owner’s] interests”
 7   is not illegal. Brekka, 581 F.3d at 1133. Whatever WhatsApp wanted its users to do, its
 8                                                    . Abu, 107 F.4th at 515. That is dispositive.
 9          C.       Plaintiffs cannot assert or prove a “password-trafficking” claim.
10          Plaintiffs cannot pursue a claim under CFAA § 1030(a)(6) because they did not plead that
11   claim in their complaint or in any post-complaint filing. Patel, 564 F. App’x at 882. But even if
12   Plaintiffs could raise their claim now, Pegasus is not a “password or similar information.”
13   § 1030(a)(6). A “password” is “a sequence of letters, numbers, symbols or other characters,” Fed.
14   Crim. Jury Instr. 7th Cir. 1030[3] (2023 ed.), and Pegasus plainly is not. (Dkt. 419-2 at 21-22.)
15          D.       Plaintiffs cannot challenge the actions of NSO’s government customers.
16          Plaintiffs do not dispute that NSO itself never operated Pegasus against a WhatsApp user’s
17   device without consent. (MSJ 18-19.) Their claim NSO should still be held liable for
18                                                                           fails for the reasons above.
19          Plaintiffs’ attempts to attribute customer conduct to NSO are similarly meritless.
20          1. Plaintiffs cannot prove NSO unlawfully conspired with its government customers
21   because they do not argue, much less prove, that NSO “knowing[ly] agree[d]” with its customers
22   “to commit [an] unlawful act.” NetApp, Inc. v. Nimble Storage, Inc., 41 F. Supp. 3d 816, 835 (N.D.
23   Cal. 2014). 21 They argue NSO agreed its government customers would use Pegasus (Opp. 18),
24   which is not enough unless they also prove NSO knew and agreed its government customers’
25
       21
          Ryanair DAC v. Booking Holdings Inc., 2024 WL 3732498 (D. Del. June 17, 2024), is not to
26   the contrary. There, the plaintiff sent the defendants cease-and-desist letters revoking their
27   authorization and informing them that their vendors’ conduct was illegal. Id. at *18. That gave the
     defendants “know[ledge] that neither the[y] nor their agents had authorization” to access the
28   plaintiff’s computers, supporting a finding that the defendants “had the specific intent to ‘further
     the substantive offense’ under the CFAA.” Id. at *22-23. There is no such evidence here.
                                                     13
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 1   doctrine can protect extraterritorial conduct, which is appropriate here given the core government
 2   interest in “clandestine surveillance and espionage.” Broidy, 982 F.3d at 594.
 3           E.      CFAA shields NSO’s R&D activities after December 2018.
 4           Plaintiffs cannot hold NSO liable for its R&D activities after                                .
 5   Section 1030(f) is not a “defense” on which NSO bears the burden of proof. (Opp. 24.) It is a
 6   substantive limitation on CFAA’s scope, describing conduct the statute “does not prohibit.”
 7   § 1030(f). Plaintiffs’ only case addressed a distinct “government contractor defense” unrelated to
 8   CFAA, Rodriguez v. Lockheed Martin Corp., 627 F.3d 1259, 1266 (9th Cir. 2010), and Plaintiffs
 9   cite no basis to graft that defense’s limits onto CFAA. Anyway, the evidence
10            —sworn testimony and                                                      (Akro. Exh G at
11   236:16-22; Exh. H at 148:16-21; Exhs. N, O)—is clear and unrebutted. So is the evidence
12                                                                    . (Akro. Exh G. at 332:3-333:21;
13   Exh. N.)                                                                      (MSJ 23-24.)
14   III.    NSO is entitled to summary judgment on Plaintiffs’ CDAFA claim.
15           Plaintiffs do not dispute CDAFA applies only to computers within California. (Opp. 25.)
16   For the reasons above, Plaintiffs cannot prove NSO “knowingly” accessed any California-based
17   WhatsApp server. Cal. Penal Code § 502(c); (supra 3-6). Plaintiffs also reference the QuadraNet
18   server, but accessing that server could not violate CDAFA because NSO and its government
19   customers were authorized to do so. Plus,
20          , and they did so only                                                            . (McGraw
21   Decl. ¶ 80.) The QuadraNet server thus has no bearing on Plaintiffs’ CDAFA claim. 22
22                                           CONCLUSION
23           The Court should grant NSO’s motion and enter judgment in NSO’s favor.
24    Dated: October 18, 2024                         KING & SPALDING LLP
25                                                    By: Joseph N. Akrotirianakis
                                                      JOSEPH N. AKROTIRIANAKIS
26                                                    AARON S. CRAIG
27
       22
28       Plaintiffs cannot challenge NSO’s customers’ access to target devices under CDAFA because
     Plaintiffs are not the “owner[s] or lessee[s]” of target devices. Cal. Penal Code § 502(e)(1).
                                                     15
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